     Case: 1:20-cv-00799 Document #: 53 Filed: 07/15/20 Page 1 of 3 PageID #:690




                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


RUBIK’S BRAND, LTD.,
                                                     CASE NO.: 1:20-CV-00799
        PLAINTIFF,

V.                                                   JUDGE RONALD A. GUZMAN

0731*2013, ET AL.,
                                                     MAGISTRATE JUDGE SUSAN E. COX
        DEFENDANTS.


                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule “A” of the

Complaint:

                     NO.                          DEFENDANT

                      2                          13proteamonline
                      8                              ahlsensky
                     12                             baibuystore
                     19                           doublewinsells
                     26                           fancyping2016
                     29                             greatdealon
                     30                          happyeasybuy01
                     39                            linfengsky16
                     41                              liuyerbaby
                     50                            qinlanshop16
                     51                              qpseller88
                     55                               sinb168
                     56                              springdoll
                     71                              xdeal2013
                     100                            sweetdream
Case: 1:20-cv-00799 Document #: 53 Filed: 07/15/20 Page 2 of 3 PageID #:691




Dated:    July 15, 2020            Respectfully submitted,

                                   /s/ Alison Carter
                                   Ann Marie Sullivan
                                   Alison Carter
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                                   Chicago, Illinois 60607
                                   Telephone: 224-258-9378
                                   E-mail: ams@amsullivanlaw.com
                                   ATTORNEYS FOR PLAINTIFF
    Case: 1:20-cv-00799 Document #: 53 Filed: 07/15/20 Page 3 of 3 PageID #:692




                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on July 15, 2020 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Alison Carter
                                                      Alison Carter
